

People v Wallace (2018 NY Slip Op 01341)





People v Wallace


2018 NY Slip Op 01341


Decided on February 28, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 28, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
SYLVIA O. HINDS-RADIX
JOSEPH J. MALTESE
COLLEEN D. DUFFY, JJ.


2013-06231
 (Ind. No. 7/12)

[*1]The People of the State of New York, respondent,
vMark Wallace, appellant.


Mark Wallace, Wallkill, NY, appellant pro se.
William V. Grady, District Attorney, Poughkeepsie, NY (Bridget Rahilly Steller of counsel), for respondent.
Bruce A. Petitio, Poughkeepsie, NY, former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated May 13, 2015 (People v Wallace, 128 AD3d 866), affirming a judgment of the County Court, Dutchess County, rendered May 16, 2013.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
CHAMBERS, J.P., HINDS-RADIX, MALTESE and DUFFY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








